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                       IN THE UNITED STATES DISTRICT COURT
                       F'OR THE NORTHERN DISTRICT OF TEXAS
                                       AMARILLO DIVISION

Mary Louise Williams Kog, Individually,        s
As Representative of the Estate of             $
Mambrye Vallejo-King, And as Next              s
Friend of A.R.V., A.V., and F.L.V., And        $
Michael Raymond King, Individually,            $
                                               $
       Plaintffi,                              s
                                               $
v.                                             $          NO. 2:18-cv-00015-J
                                               $
CIRCLE B HAY, LLC and                          s
BRANT JOHNSON,                                 s
                                               $
       Defendants.                             $



                                       ORDER OF DISMISSAL

       On February 1, 2018, Plaintiffs filed a Notice of Dismissal, voluntarily dismissing all

claims in controversy under Fed. R. Civ. P. 1(a)(1)(A)(i). Accordingly, the claims in this case

between Plaintiffs and Defendants are DISMISSED WITHOUT PREJUDICE, each party to bear

their own costs and attorneys' fees.


       IT IS SO ORDERED.


       Signed   ,ni, I   %aay of Febru ary,Zol-.




                                             SENIOR UNITED STATES DISTRICT JUDGE
